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                                       UNITED STATES DISTRICT COURT
      3
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
      4
                                                FRESNO DIVISION
      5
      6   UNITED STATES OF AMERICA,                         )   Case No.: 08-00224 (OWW)
                                                            )
      7                   Plaintiff,                        )   ORDER CONTINUING THE
                                                            )   NOVEMBER 16, 2009
      8          vs.                                        )
                                                            )   SENTENCING HEARING
      9   REYNALDO SOTELO,                                  )
                                                            )
     10                   Defendant                         )
                                                            )
     11
     12          Based on the Stipulation of the Parties,
     13
                 IT IS HEREBY ORDERED that the sentencing hearing scheduled for November 16,
     14
          2009, at 9:00 a.m., is continued to February 22, 2010, at 9:00 a.m.
     15
     16          IT IS SO ORDERED.

     17   Dated: November 10, 2009                               __/s/ OLIVER W. WANGER__________
                                                                 OLIVER W. WANGER
     18                                                          UNITED STATES DISTRICT JUDGE
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          Stipulation and Order Continuing
          The November 16, 2009, Sentencing Hearing                                           Page 1



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